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 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                            FOR THE DISTRICT OF ARIZONA
10
      United States of America,                            CR-23-00408-001-PHX-GMS
11
                          Plaintiff,
12                                                     UNITED STATES' SENTENCING
                vs.                                          MEMORANDUM
13
14    Cynthia Solano,
15                        Defendant.
16
17          The United States of America submits this memorandum in support of sentencing
18   in this case. The United States requests that the court accept the plea agreement and
19   sentence the Defendant to 87 months in the Bureau of Prisons and three years of supervised
20   release.
21                      MEMORANDUM OF POINTS AND AUTHORITIES
22   I.     FACTS
23          In May 2022, Canadian law enforcement officers working with the Toronto Police
24   Service (“TPS”) executed search warrants at multiple locations in the Toronto, Ontario
25   metropolitan area as part of an investigation into firearms trafficking. TPS searched
26   multiple locations and recovered 62 firearms. At one of the search locations, TPS found
27   eight semi-automatic rifles and 51 handguns.
28          TPS provided serial numbers associated with the firearms to the Bureau of Alcohol,
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 1   Tobacco, Firearms and Explosives (“ATF”).         ATF traced the serial numbers associated
 2   with the 62 firearms and learned that 59 of them were last known to be purchased by people
 3   in Arizona. 1 ATF’s firearm tracing also provides the number of days which had passed
 4   between the date the firearms were recovered (May 28, 2022) and the date the firearms
 5   were purchased. This time is commonly referred to as the “time to crime.”       Based on a
 6   more recent review, the time to crime of the firearms recovered by TPS ranged between
 7   twelve to 5,000 days.
 8          ATF investigators subsequently began interviewing some of the individuals who
 9   purchased the firearms in Arizona. All of those interviewed admitted that they had sold
10   their firearms (as opposed to having been stolen).      But through those interviews and
11   additional investigative efforts, ATF identified the Defendant, Cynthia Solano, as someone
12   who may have been involved in the trafficking of those firearms.
13                                      Defendant’s Arrest
14          On January 3, 2023, Illinois State Police (“ISP”) Trooper B. Heaton observed a blue
15   Chevrolet Tahoe SUV with a temporary registration driving on the highway with an
16   obstructed front windshield near Springfield, Illinois. The Tahoe pulled over to the side of
17   the road before Trooper Heaton got behind it. Then he pulled behind the stopped Tahoe
18   and saw that the temporary tag was unreadable.
19          The Defendant got out of the Tahoe before the Trooper approached and walked
20   around the car as if she was checking the tires. Trooper Heaton approached and saw
21   Defendant’s son in the car. Defendant gave Trooper Heaton her Arizona driver’s license
22   and told him that she was the registered owner. He asked her where she was traveling. She
23
24
25          1 ATF reviews ATF Form 4473 – Firearms        Transaction Record, which is filled in
26   by the Federal Firearms Licensee and signed by the firearm purchase on the date of sale.
27   Form 4473 includes the make, model, and serial number of the firearm as well as the
28   purchaser’s name, biographical information, and residential address.

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 1   first stated Chicago and corrected herself and said Detroit. The Defendant said she has to
 2   go through Chicago to get to Detroit. During the encounter, she appeared extremely
 3   nervous to Trooper Heaton. He observed her breathing was labored and her carotid artery
 4   appeared to be pulsing through her neck very fast.
 5          Trooper Heaton asked the Defendant if there was anything illegal in the vehicle, and
 6   she stated no. ISP Sgt. Canine Handler S. Ent arrived on scene and had his dog sniff the
 7   Tahoe. The dog alerted so Trooper Heaton explained to the Defendant that they were going
 8   to search the vehicle. The Defendant told the officers that all the bags and suitcases in the
 9   vehicle were hers. The trunk was searched, and the officers found five suitcases packed
10   with small packages wrapped in Christmas wrapping paper. The officers opened the
11   packages and found 87 pistols. Two of the guns were previously reported stolen, a Kimber,
12   K6S, .357 and Glock, 43, .9mm. Additionally, a Glock .45 cal. pistol had an auto-switch,
13   which allows a pistol to fire automatically without successively pulling the trigger.
14          ISP Troopers took custody of all firearms. The Defendant said that she didn’t know
15   there was luggage located in her vehicle and denied knowing about the guns. Trooper
16   Heaton also found two cellular phones and an Apple tablet in the vehicle. The Defendant
17   admitted the grey iPhone with a flowery case was hers. The other phone was her son’s.
18          ISP interviewed the Defendant and her son and recorded the interviews. During her
19   first interview, she said that “they” loaded the suitcases into her car. She vigorously denied
20   knowing what was in the suitcases. At one point during the recording, the officer’s walked
21   away and she spoke with her son. When she spoke with him, she told him not to talk to
22   the police and to tell them that they are going to Chicago to see “the Bean.”
23          During her second interview, the Defendant began by continuing to deny knowing
24   that there were firearms in her vehicle. She also denied knowing what a “switch” or “Glock
25   switch” was. After approximately 1:50:00 into the interview and after they told her she
26   was going to jail, she said that “they” threatened her to do it and told her that they could
27   track her car.
28


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 1          ISP submitted the firearms for fingerprint analysis. Defendant’s prints were not
 2   recovered.
 3                                    The Defendant’s Phones
 4          ISP Troopers subsequently obtained a search warrant from the State of Illinois for
 5   the two phones and tablet. However, the ISP Troopers were unable to access the contents
 6   because the biometric access security feature on the Defendant’s phone was enabled.
 7   Subsequently, United States District Court for the Central District of Illinois Magistrate
 8   Judge Karen McKaught authorized the search, seizure of the grey iPhone with a flowery
 9   case on January 13, 2023. This warrant included authority to bypass the biometric access
10   security feature by placing the phone in front of Solano’s face or applying the Defendant’s
11   finger. The Defendant later volunteered the access codes for all the devices to the personnel
12   at the Sangamon County Jail after learning of the warrants through her attorney.
13          The search of Solano’s phone provided some evidence of her activities before her
14   arrest on January 3, 2023. Of particular interest were text communications between Solano
15   and her friend between December 29, 2022 and January 3, 2023.
16          December 29, 2022 –
17          Defendant’s Friend:         When are you leaving?
18          Defendant:                  I don’t know
19          Defendant:                  sending u my money today. Ill need it for my trip. So il
20                                      let u know when its ready.
21          Defendant’s Friend:         Ok, sounds good!
22          Defendant’s Friend:         Just went to try to pick up the money order they closed
23                                      at 8. Will go back in the morning.
24          December 30, 2022 –
25          Defendant’s Friend:         Hey good Morning sorry fell asleep last night. Headed
26                                      to Walmart now.
27          Defendant:                  Thank u do you have any wrapping paper and tape or
28                                      you can give me I need it if not, I’ll run to the store real


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 1                                    quick and get some. 2
 2          Defendant’s Friend:       I have extra I’ll bring some
 3          Defendant’s Friend:       Ur first message cut out but it sounds like you didn’t
 4                                    leave yet
 5          Defendant:                I’ll leave tomorrow I had to deal with a money thing.
 6                                                [. . .]
 7          Defendant:                This is what I told these [f…ers] to do this since last
 8                                    [f…ing] week and now we’re having all these issues and
 9                                    I already lost the whole day.
10          Defendant’s Friend:       U still don’t got the money
11          Defendant:                wait until abeam finds out. He will be super [f…ing]
12                                    [p…ed] because we already programmed everybody for
13                                    a particular day and now we’re gonna have to cancel
14                                    because I’m not gonna make it in three days. It’s a
15                                    holiday. I’m not trying to speed because there’s cops
16                                    everywhere.”
17          Defendant’s Friend:       hes gonna freak the [f…] out.
18          Defendant:                I honestly don’t even wanna answer the call when it
19                                    comes in because I’ve been telling these guys to get on
20                                    this since last [f…ing] week and I lied to him yesterday
21                                    and told him that I had left but I’m just gonna tell him I
22                                    had to come back, cause some issues with the money
23                                    but he’s gonna be [p..ed].
24          Defendant’s Friend:       it is not your fault they [f…ed] up.
25
26
27          2 As noted above, the firearms   recovered by ISP were wrapped like Christmas
28   presents.

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 1         Defendant:                nope its their issue and they don’t understand that I line
 2                                   up everything so 1issue is a domino effect.
 3         Defendant’s Friend:       Well with NYE being today it’s prob more safe if u
 4                                   leave tomorrow.
 5         Defendant:                I cant I wont make it. So its gonna be till next week.
 6                                   Cause they dropped the ball. Again. I swear I cant wait
 7                                   to [Defendant’s son] is a few years older. Ill send him
 8                                   out there. I wont deal with this. They waiting till last
 9                                   min
10                                                [. . .]
11         Defendant:                Got it, but Im leave tomorrow.
12         Defendant’s Friend:       ok girl. Glad you got it !!!
13         January 1, 2023 –
14         Defendant:                I’m gonna leave sunny with the money for the rent
15                                   tomorrow when you get here can you go pay it for me
16                                   please? I’m gonna takeoff because he’s losing his mind.
17                                   He’s super [f…ing] [p…sed].
18         Defendant’s Friend:       yes no problem
19         Defendant:                left $2320
20         Defendant’s Friend:       drive safe [f…] those mfs
21         Defendant:                He is mad, looks like all niters. But ill get it done. Im
22                                   going to have the send you the money through Ari in
23                                   Walmart. It’s an international money service they all
24                                   they gotta say medical emergency. Works just like
25                                   Western Union or MoneyGram.
26         Defendant’s Friend:       holy [c…] that’s a lot of driving be safe.
27         Defendant:                but were not flagged I will. Ill be fine. Ill have my
28                                   glasses ill be fine. Ill just dress warm.


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 1          Defendant’s Friend:         Ok sounds good I’ll go get it tomorrow or whenever it’s
 2                                      ready
 3          January 2, 2023 –
 4          Defendant:                  someone is going to cash app her $1400 when you get
 5                                      it I want you to sell it to me.
 6          Defendant’s Friend:         ok ill send it once it comes through.
 7                                                   [. . .]
 8          Defendant:                  in Tusla
 9          Defendant’s Friend:         That’s what I like to hear!!!!
10          In addition to the warrant for the Solano’s phone, ATF-Phoenix obtained a warrant
11   for the historical cellular site data for Solano’s phone. The data was consistent with
12   Solano’s travel from Phoenix to Illinois during this time frame.
13          The search of the phone that Defendant claimed was her son’s provided much more
14   evidence of her activities before her arrest on January 3, 2023. A brief synopsis of the
15   evidence obtained from his phone included:
16          -   Photographs of firearms;
17          -   Photographs of Toronto police vehicles and Toronto police at crime scenes;
18          -   Picture of Scarborough (Ontario) Shooting Stars;
19          -   Screenshot of Google search for time in Toronto on January 3, 2023, at 2:37 PM;
20          -   Photographs of the six individuals arrested during Canadian “Project Barbell”
21              investigation; 3
22          -   Screenshot of a Canadian Dollar to United States Dollar conversion;
23          -   Firearm sized items wrapped in bubble wrap in a plastic bin;
24          -   Firearm sized items wrapped in Christmas wrapping paper; and
25
26
27          3 Project Barbell is the name of the TPS investigation which led to the seizures in

28   May 2022.

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 1          -   Numerous videos depicting firearms.
 2          The videos depicting firearms contained strong evidence of the Defendant’s
 3   connection to the firearms seized in the Tahoe. In the videos, the hands and legs of a
 4   woman are captured handling the guns with additional firearms in the background (pictured
 5   below). The female is wearing gloves, has tattoos on her legs, and speaks throughout many
 6   of the videos. In one video, she states, “some of these [b….es] have switches,” an obvious
 7   reference to the conversion device seized on January 3, 2023. In another video, she
 8   references “her people’s” involvement in her activity and describes the steps she takes to
 9   make the firearms more difficult to track. Finally, on another video another person is seen
10   in the background wearing gloves. Based on the agents’ familiarity with the Defendant
11   and her son, they believe she’s the woman in the video and her minor son is the person in
12   the background.    Additionally, the videos are in good enough quality that the serial
13   numbers on the handguns can be seen. The agents matched those serial numbers to some
14   of the handguns recovered on January 3. 2023. The videos were saved to this phone on
15   December 27, 2022.
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17                       Search Warrant at the Defendant’s Residence
18          On February 21, 2023, ATF executed a federal search warrant for the Defendant’s
19   Tempe, Arizona residence. During the search, investigators found numerous items related
20   to the Defendant’s criminal activities. Specifically, ATF investigators recovered a high-
21   speed bill counting machine, financial receipts for transactions which have been identified
22   during the ongoing financial investigation, and paper records that included the phone
23   numbers of suspected gun sellers and possible firearm ledgers. They also saw the rug
24   which is pictured in the background of the videos described above.
25                            Financial Investigation of Defendant
26          ATF and Internal Revenue Service investigators reviewed financial records related
27   to the Defendant’s receipt of funds from suspected Canadian-based associates. Through
28   reviewing the financial records, investigators learned that the Defendant received proceeds


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 1    from the illegal sale of firearms to purchase additional firearms for the criminal
 2    organization. The records revealed the Defendant received the firearm sales proceeds into
 3    her Bank of America account or had the proceeds wired to other associates to conceal her
 4    involvement in the illegal activity between March 21, 2022 and January 9, 2023. During
 5    this time frame, the Defendant was involved in the concealment of no less than $89,997.00
 6    of illicit proceeds.
 7                                 Defendant’s Post-Arrest Flight
 8           On April 14, 2023, the Defendant appeared for her initial appearance and
 9    arraignment. ECF 12. On April, 27, 2023, the Defendant was released from custody and
10    placed on home Detention. ECF 18, p. 3. In that order, she was prohibited from traveling
11    out of the United States without prior court approval. Id. p. 2.
12           On July 29, 2023, Pretrial Services received an alert notification that the Defendant
13    removed her electronic monitor.     ECF 31. Pretrial Services responded to Defendant’s
14    residence and were unable to contact her. Id.
15           In November 2023, the Defendant was apprehended in Mexico and deported to the
16    United States.
17    II.    PLEA AGREEMENT
18           The Defendant pleaded guilty to Count 1 (Possession of a Machinegun) and Count
19    2 (Conspiracy to Commit Money Laundering) of the Information. The parties stipulated
20    that the Defendant’s sentence shall not exceed 87 months, that the offense involved more
21    than 25 but less than 99 firearms under U.S.S.G. §2K2.1(b)(1)(B), that the laundered funds
22    involved in the offense was more than $40,000 but less than $95,000, that the Defendant
23    was an average participant, that the Defendant willfully attempted to obstruct or impede
24    the administration of justice with respect to prosecution related to this conviction under
25    U.S.S.G. §3C1.1, and that Defendant’s sentences shall be run concurrently. The
26    government also agreed to dismiss Count 1 of the Indictment.
27    ///
28    ///


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 1    III.   PRESENTENCE INVESTIGATION REPORT
 2           The Sentencing Guidelines range is the “starting point and the initial benchmark”
 3    for all sentencing proceedings and should be “kept in mind throughout the process.” United
 4    States v. Carty, 520 F.3d 984, 991 (9th Cir. 2008) (en banc) (citations omitted). The
 5    Sentencing Guidelines range is not presumed to be reasonable, but instead is only one of
 6    the § 3553(a) factors to be considered by the Court. Id.
 7           Probation calculates the Defendant’s base offense level at 32. (PSR ¶ 23.) Two
 8    levels were added because the Defendant was convicted under 18 U.S.C. § 1956 under
 9    U.S.S.G. §2S1.1(b)(2)(B). (PSR ¶ 24.) Two additional levels were added because the
10    Defendant obstructed justice under U.S.S.G. §3C1.1. (PSR ¶ 24.) After these calculations,
11    probation calculates the Defendant’s offense level at 36, criminal history category (CHC)
12    I (188 months – 235 months). (PSR ¶ 57.) The statutory maximum penalty from Count 1
13    is 120 months. Id. Probation recommends a sentence of 120 months to be followed by
14    three years of supervised release.    (PSR p. 33.) Probation’s recommended sentence
15    requires the Court to reject the plea agreement.
16           The United States agrees with the calculations in the PSR. However, the United
17    States requests that the Court accept the plea agreement and sentence the Defendant to 87
18    months imprisonment.     The government also requests that the Defendant receive three
19    years of supervised release after completing her prison sentence.
20    IV.    ANALYSIS OF SENTENCING FACTORS AND RECOMMENDATION
21           A. History and Characteristics of the Defendant
22           The Defendant is 40 years old. (PSR at 4.) She does not have any prior arrests or
23    convictions and, therefore, has a total criminal history score of zero. (PSR ¶ 35.) The
24    Defendant’s relationship status is unclear from the information obtained by the presentence
25    report writer. (PSR ¶ 44-46.) Yet it is clear that the Defendant has four minor children.
26    (PSR ¶ 44.) Her education history is also unclear, but it is believed that she has a high
27    school diploma. (PSR ¶¶ 46, 51 & 52.) For employment, the Defendant was employed by
28    QuikTrip prior to her involvement in this case. (PSR ¶ 54.)


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 1           The Defendant has a back injury which requires treatment and reports that she
 2    suffers from anxiety or depression. (PSR ¶¶ 48-49.) The Defendant obtained her medical
 3    marijuana card but claims that she has only used the drug five times in two years. (PSR
 4    ¶ 50.) She denies drinking alcohol or using any other illicit substances. Id.
 5           B. The Nature and Circumstances of the Offense
 6           The guns that can be attributed to the Defendant place her at offense level 18, which
 7    is increased to offense level 36 after upward adjustments. As discussed above, the
 8    Defendant’s involvement in this international criminal organization’s distribution of guns
 9    was significant. Her assistance to the group became clear to ATF after Canadian law
10    enforcement alerted them to the guns recovered in Canada and the guns were traced back
11    to Arizona. The evidence indicates that the Defendant was courier and facilitator working
12    for others within this firearm trafficking organization. Based on this, it’s the United States’
13    view that the Defendant was an average participant of this organization.
14           C. The Need for Adequate Deterrence
15           Title 18, United States Code, Section 3553(a) expressly provides for the court to
16    consider general deterrence in making its sentencing determination. Section 3553(a)(2)(B)
17    states that “[t]he court, in determining the particular sentence to be imposed, shall consider
18    the need for the sentence imposed to afford adequate deterrence to criminal conduct.”
19           Based on the evidence, the Defendant was involved in an international criminal
20    organization which was headed by traffickers in Canada. The Defendant’s role appears to
21    have been limited to obtaining and delivering firearms for the organization. She facilitated
22    their activity because she was a United States citizen capable of lawfully obtaining
23    firearms.
24           Based on the Defendant’s role in the organization and her criminal history, the
25    government requests a sentence below the final adjusted guidelines and below the
26    sentencing cap. The government makes this request because after she fled, she admitted
27    her involvement, accepted responsibility, and entered a plea agreement.               It’s the
28    government’s view that an 87-month sentence sends a message to the Defendant and other


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 1    firearm traffickers who assist others in the illegal distribution of firearms that they will be
 2    held responsible for their involvement in this, that this is a serious offense, and that their
 3    involvement with firearm trafficking makes them a danger to the community.
 4           D. Not Create Unwarranted Disparity Among Defendants
 5           The Defendant is being held responsible for the illegal activity she was involved in
 6    over a one-year period. She is only one who has been prosecuted in the United States
 7    related to this Canadian-based organization’s activities.
 8           After balancing the Defendant’s lack of criminal history and her role in the offense,
 9    the United States respectfully requests an 87-month sentence.          The government also
10    requests three years of supervised release. The requested sentence accounts for the firearms
11    that were seized, her involvement in her receipt of the organization’s illicit proceeds, her
12    role in the firearm trafficking organization, and the danger that she represents to the
13    community because of her participation in the instant offense.
14    V.     Conclusion
15           For the above reasons, the United States respectfully requests an 87-month sentence.
16    The government also requests three years of supervised release.
17           Respectfully submitted this 21st day of January, 2025.
18
19                                                         GARY M. RESTAINO
                                                           United States Attorney
20                                                         District of Arizona
21                                                         s/D. Matthew Conti
                                                           D. MATTHEW CONTI
22                                                         Assistant U.S. Attorney
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 1
                                   CERTIFICATE OF SERVICE
 2
            I hereby certify that on this 21st day of January, 2025, I electronically transmitted
 3
      the attached document to the Clerk’s Office using the CM/ECF System for filing and
 4
      transmittal of a Notice of Electronic Filing to the following CM/ECF registrant:
 5
      Matthew F. Leathers
 6    Attorney for the Defendant
 7    s/I. Trevizo        _
      U.S. Attorney’s Office
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